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Year-over-year improvement was led by revenue growth in Production and Well Construction in the U.S. and parts of Latin America
combined with higher activity and improved service quality across all product lines in the Middle East and Russia. Results also
benefited from an overall reduction in cost structure as well as lower depreciation due to asset sales and impairments in prior
quarters. These improvements were partially offset by a decline in revenue in Venezuela after our change in accounting for revenue
to a cash basis last quarter.


In the quarter, we recorded pre-tax charges of $57 million, which include $34 million related to the bond tender and call premium,
$26 million in currency devaluation charges mostly in the Angolan kwanza, $25 million in restructuring and transformation charges
and $18 million in asset write-downs and other, net. This was partially offset by $46 million in credits related to the fair value
adjustment of the outstanding warrant.


In the first quarter of 2018, estimated recurring benefits as a result of the transformation plan were $27 million or $108 million
on an annualized basis. In addition, we achieved $41 million in one-time benefits, mostly driven by the sale of surplus or non-
strategic assets along with an improved collections process.


Mark A. McCollum, President and Chief Executive Officer, commented, “As we continue on our transformational path, our results
for the first quarter of 2018 reflect our focus on planning and executing tangible actions to improve our position as a strong, viable
and innovative organization. Sequentially and on a year-over-year basis, our operating income, margins and adjusted EBITDA
improved substantially, as we steadily reduced our core costs and benefited from an improving market environment. Additionally,
we have increased accountability, efficiency and process discipline across the entire Company.”


McCollum continued, “The goals we have set forth for 2018 and 2019 are realistic and achievable. We are on track and, in the
first quarter, have already achieved 10% of our annualized recurring benefit target. I am excited about our progress as we continue
to build momentum. We have the right people, technologies and processes to be successful, and by executing on the detailed action
plans we have developed over the past few months, we will generate improved returns and create significant value for our
shareholders.”


Cash Flow and Financial Covenants


Net cash used in operating activities was $185 million for the first quarter of 2018, driven by cash payments of $174 million for
debt interest and $26 million for cash severance and restructuring costs partially offset by improved collections of accounts
receivables. First quarter capital expenditures of $38 million, including investments in Land Drilling Rigs held-for-sale assets,
decreased by $40 million, or 51%, sequentially due to lower spending in Well Construction due to project delays and delayed rig
mobilizations, and decreased $2 million or 5% from the same quarter in the prior year.


The Company is in compliance with its financial covenants as defined under our revolving and secured term loan credit facilities
as of March 31, 2018, and expects to continue to remain in compliance with all covenants based on current financial projections.




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Conference Call


The Company will host a conference call with financial analysts to discuss the quarterly results on April 24, 2018, at 8:30 a.m. eastern
time (ET), 7:30 a m. central time (CT). Weatherford invites investors to listen to the call live and review related presentation materials
via the Company’s website. Conference call details can be found at https://www.weatherford.com/en/investor-relations/financial-
information/conference-call-details/ and presentation materials can be found at https://www.weatherford.com/en/investor-relations/
investor-presentations/. A recording of the conference call and transcript of the call will be available in the Investor Relations section
of the website shortly after the call ends.


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Forward-Looking Statements


This news release contains, and the conference call announced in this release may include, forward-looking statements. These forward-
looking statements include, among other things, the Company’s quarterly non-GAAP earnings per share, effective tax rate, net debt,
forecasts or expectations regarding business outlook, and capital expenditures, and are also generally identified by the words “believe,”
“project,” “expect,” “anticipate,” “estimate,” “outlook,” “budget,” “intend,” “strategy,” “plan,” “guidance,” “may,” “should,” “could,”
“will,” “would,” “will be,” “will continue,” “will likely result,” and similar expressions, although not all forward-looking statements
contain these identifying words. Such statements are based upon the current beliefs of Weatherford’s management, and are subject
to significant risks, assumptions and uncertainties. Should one or more of these risks or uncertainties materialize, or underlying
assumptions prove incorrect, actual results may vary materially from those indicated in our forward-looking statements. Readers are
also cautioned that forward-looking statements are only predictions and may differ materially from actual future events or results,
including possible changes in the expected efficiencies and cost savings associated with our transformation plans; completion of
potential dispositions, and the changes in spending and payment timing by our clients and customers. Forward-looking statements
are also affected by the risk factors described in the Company’s Annual Report on Form 10-K for the year ended December 31, 2017
and those set forth from time-to-time in the Company’s other filings with the Securities and Exchange Commission. We undertake
no obligation to correct or update any forward-looking statement, whether as a result of new information, future events, or otherwise,
except to the extent required under federal securities laws.




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                                                               Weatherford International plc
                                                               Selected Balance Sheet Data
                                                                             (Unaudited)
                                                                             (In Millions)

                                                                    3/31/2018            12/31/2017               9/30/2017              6/30/2017               3/31/2017
Assets:
Cash and Cash Equivalents                                       $         459         $           613         $          445         $           584         $          546
Accounts Receivable, Net                                                1,100                   1,103                  1,236                   1,165                  1,292
Inventories, Net                                                        1,225                   1,234                  1,752                   1,728                  1,700
Assets Held for Sale                                                      369                     359                    935                     929                    860
Property, Plant and Equipment, Net                                      2,580                   2,708                  3,989                   4,111                  4,265
Goodwill and Intangibles, Net                                           2,968                   2,940                  2,575                   2,527                  2,602

Liabilities:
Accounts Payable                                                           809                     856                    815                     837                    803
Short-term Borrowings and Current
Portion of Long-term Debt                                                 153                     148                    391                     152                    240
Long-term Debt                                                          7,639                   7,541                  7,530                   7,538                  7,299

Shareholders’ Equity:
Total Shareholders’ Equity (a)                                            (898)                  (571)                 1,384                   1,524                  1,691
(a)   On January 1, 2018, we adopted the accounting standard related to taxes on intra-entity transfers of non-inventory assets on a modified retrospective basis and the impact
      from this adoption was to record the previously recorded prepaid taxes as an adjustment to retained earnings In addition we also adopted the revenue recognition accounting
      standard and recorded the cumulative effect of the changes made to our consolidated balance sheet as an adjustment to retained earnings




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                                                          Weatherford International plc
                                                                  Net Debt (a)
                                                                  (Unaudited)
                                                                  (In Millions)
 Change in Net Debt for the Three Months Ended 3/31/2018:
  Net Debt at 12/31/2017 (a)                                                                                                                $        (7,076)
   Operating Loss                                                                                                                                       (39)
   Depreciation and Amortization                                                                                                                        147
   Capital Expenditures for Property, Plant and Equipment                                                                                               (29)
   Capital Expenditures for Assets Held for Sale                                                                                                         (9)
   Proceeds from Sale of Assets                                                                                                                          12
   Acquisition of Intangibles                                                                                                                            (3)
   Increase in Working Capital (b)                                                                                                                      (45)
   Other Financing Activities                                                                                                                           (10)
   Accrued Litigation and Settlements                                                                                                                    (8)
   Income Taxes Paid                                                                                                                                    (47)
   Interest Paid                                                                                                                                       (174)
   Other                                                                                                                                                (52)
  Net Debt at 3/31/2018 (a)                                                                                                                 $        (7,333)

 Components of Net Debt (a)                                                                           3/31/2018     12/31/2017     3/31/2017
   Cash                                                                                             $         459 $         613 $          546
   Short-term Borrowings and Current Portion of Long-term Debt                                               (153)         (148)          (240)
   Long-term Debt                                                                                          (7,639)       (7,541)        (7,299)
   Net Debt (a)                                                                                     $      (7,333) $     (7,076) $      (6,993)
(a)
    “Net Debt” is defined as debt less cash. Management believes that it provides useful information regarding our level of indebtedness by reflecting cash
    that could be used to repay debt.
(b)
    Working capital is defined as accounts receivable plus inventory less accounts payable.




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